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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

AXEL RIVERA RODRIGUEZ,                        :
     Plaintiff                                :            No. 1:21-cv-00343
                                              :
             v.                               :            (Judge Kane)
                                              :
SGT. CLINE, et al.,                           :
      Defendants                              :

                                         ORDER

      AND NOW, on this 3rd day of December 2021, in accordance with the Memorandum

issued concurrently with this Order, IT IS ORDERED THAT:

      1.     Defendants’ partial motion to dismiss (Doc. No. 14) is GRANTED;

      2.     Plaintiff’s claims against Defendants Seibert and Briggs are DISMISSED
             WITHOUT PREJUDICE for failure to state a claim upon which relief may be
             granted;

      3.     Plaintiff’s request for injunctive relief is DISMISSED WITHOUT
             PREJUDICE as moot;

      4.     Plaintiff may file an amended complaint within thirty (30) days of the date of this
             Order to correct the deficiencies identified in the accompanying Memorandum. If
             Plaintiff elects to file an amended complaint, Plaintiff is advised to adhere to the
             standards set forth in the Federal Rules of Civil Procedure and the directives set
             forth by this Court in its accompanying Memorandum. Specifically, the amended
             complaint must be complete in all respects. It must be a new pleading which
             stands by itself without reference to the original complaint or any other
             documents already filed. The amended complaint should set forth Plaintiff’s
             claims in short, concise, and plain statements as required by Rule 8 of the Federal
             Rules of Civil Procedure. Each paragraph should be numbered. The amended
             complaint should specify which actions are alleged as to which defendants and
             sufficiently allege personal involvement of the defendant in the acts which
             Plaintiff claims violated his rights. Mere conclusory allegations will not set forth
             cognizable claims;

      5.     The Clerk of Court is directed to mail Plaintiff a civil rights complaint form; and
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6.   If Plaintiff fails to file an amended complaint within thirty (30) days of the date of
     this Order, the original complaint shall remain the operative pleading and this
     case shall proceed as to Plaintiff’s claims against Defendant Cline only.


                                                    s/ Yvette Kane
                                                    Yvette Kane, District Judge
                                                    United States District Court
                                                    Middle District of Pennsylvania
